
983 So.2d 904 (2008)
DELTA CHEMICAL CORP., Lee Mauberet and Ross Heidingsfelder
v.
Bill LYNCH as the Inspector General for the State of Louisiana, Office of the Inspector General of the State of Louisiana, Louisiana State Racing Commission and Sandra Jones.
No. 2008-C-0761.
Supreme Court of Louisiana.
May 30, 2008.
In re Delta Chemical Corp.; Mauberet, Lee; Heidingsfelder, Ross;  Plaintiff(s); Applying for Writ of Certiorari and/or Review, Parish of Orleans, Civil District Court Div. I, No. 2001-19425; to the Court of Appeal, Fourth Circuit, No. 2007-CA-0431.
Denied.
